Case 18-31724        Doc 3-1     Filed 10/19/18 Entered 10/19/18 13:10:45            Desc Exhibit
                                A- Proposed Order Page 1 of 2
                                          EXHIBIT A

                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF CONNECTICUT
                                 NEW HAVEN DIVISION

In re                                                  :      Chapter 11
                                                       :
SERVICOM LLC,                                          :      Case No. 18-31722 (AMN)
JNET COMMUNICATIONS LLC, and                           :      Case No. 18-31723 (AMN)
VITEL COMMUNICATIONS LLC,                              :      Case No. 18-31724 (AMN)
                                                       :
                               Debtors.                :      (Joint Administration Requested)


                  ORDER AUTHORIZING APPOINTMENT OF COUNSEL

        Upon the Application of ServiCom LLC (“ServiCom”), JNET Communications, LLC and

Vitel Communications LLC (“Vitel”) (collectively, the “Debtors”), requesting authority to employ

and appoint Zeisler & Zeisler, P.C. (“Z&Z”), under a general retainer, to represent the Debtors as

Debtors-in-Possession in the above-captioned Chapter 11 cases (collectively, the “Bankruptcy

Cases”); and upon the Affidavit of Stephen M. Kindseth; and it appearing that said Z&Z are

attorneys duly admitted to practice in this Court; and the Court being satisfied that Z&Z represents

no interest adverse to said Debtors herein, or to their estates, and are disinterested persons in the

matters upon which Z&Z is to be engaged; and its employment being necessary and in the best

interests of the Debtors and their estates; and it appearing that due and appropriate notice has been

given and such notice being sufficient; it is hereby

        ORDERED, that the Application is GRANTED and the Debtors, as Debtors-in-Possession

herein, be and hereby are authorized to employ Z&Z to represent them as Debtors-in-Possession in

these Bankruptcy Cases under a general retainer and for which Z&Z has received a retainer in the

amount of $140,000.00 (less such amounts as are applied to fees and expenses incurred prior to the

commencement of the bankruptcy cases which will be deducted from the $140,000 paid by the

Debtors to determine the actual retainer amount; upon such deduction, Z&Z shall promptly file an
Case 18-31724        Doc 3-1     Filed 10/19/18 Entered 10/19/18 13:10:45            Desc Exhibit
                                A- Proposed Order Page 2 of 2


Amended Disclosure of Compensation of Attorneys of Debtors disclosing the actual retainer

amount) (the “Retainer”); and it is further

       ORDERED, that Z&Z shall hold the Retainer in accordance with the representation set forth

in the Application; specifically, inter alia, in a separate interest-bearing escrow account in Z&Z’s

name, and no amounts from the Retainer may be disbursed unless or until Z&Z’s fees and expenses

are allowed by the Bankruptcy Court; and it is further

       ORDERED, that Z&Z is directed to apply to this Court for allowance of compensation and

reimbursement of expenses in accordance with the applicable provisions of the Title 11 of the

United States Code, the Federal Rules of Bankruptcy Procedure, and the Local Rules of Bankruptcy

Procedure.




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